






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-02-00284-CR







Juan Manuel Cervantes, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 368TH JUDICIAL DISTRICT


NO. 02-190-K368, HONORABLE BURT CARNES, JUDGE PRESIDING







Appellant Juan Manuel Cervantes pleaded guilty to aggravated assault.  See Tex. Pen.
Code Ann. § 22.02 (West 1994).  The court adjudged him guilty and sentenced him to twenty years'
imprisonment.

The clerk's record contains a written waiver of appeal signed by appellant.  This
document reflects a knowing and voluntary waiver of the right to appeal and was signed on the day
sentence was imposed in open court.  A defendant who knowingly and intelligently waives his right
to appeal may not thereafter appeal without the consent of the trial court.  Ex parte Dickey, 543 
S.W.2d 99 (Tex. Crim. App. 1976); see also Hurd v. State, 548 S.W.2d 388 (Tex. Crim. App. 1977);
Reed v. State, 516 S.W.2d 680 (Tex. Crim. App. 1974).  Appellant sought and was refused
permission to appeal.


The appeal is dismissed.



				__________________________________________

				Jan P. Patterson, Justice

Before Justices Kidd, Patterson and Puryear

Dismissed for Want of Jurisdiction

Filed:   June 13, 2002

Do Not Publish


